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                              UNITED STATES DISTRICT
                           EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION


UNITED STATES OF AMERICA

       Plaintiff,

                                                     Case No: 06-20351
                                                     Honorable Denise Page Hood
v.

D-3    TANISHA SUMMERS,

      Defendant.
_________________________________/

ORDER DENYING DEFENDANT SUMMERS’1 NOTICE OF ABATEMENT, NOTICES
 OF DEFAULT AND MOTION TO DISMISS AND ORDER SETTING TRIAL DATE

I.     INTRODUCTION

       This matter is before the Court on Defendant Tanisha Summers-El’s Notice of Abatement

(Motion), filed on February 20, 2007.2 The Government filed a Response on February 22, 2007.

       This is the second time this Court has reviewed Defendant Summers-El’s Notice of

Abatement. On March 9, 2007, this Court issued an Order denying Defendant Summers-El’s

Notice of Abatement based on the fact that she filed the instant Motion when she was


       1
       Defendant Summers asserts her name is Summers-El. The Court will address her as
Ms. Summers-El, but that is no indication or legal conclusion that she is not the person Tanisha
Summers under indictment.
       2
          On April 11, 2007, Defendant Summers-El filed a Motion to Dismiss the Indictment for
Illegal Grand Jury Proceedings. As Defendant’s Notice of Abatement alleges similar arguments,
the Court will address Defendant’s Motion to Dismiss the Indictment and treat it as a
Supplement to her Notice of Abatement. Defendant Summers-El filed additional documents on
April 13, 2007. She did not provide these to the Court until after the Court had given its decision
on the record.

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represented by counsel. However, she did not file the Notice of Abatement with her attorney’s

aid, advice or approval. As such, the Court denied Defendant Summers-El’s Notice of

Abatement as she could not simultaneously assert her right to defend herself and her right to

counsel.

       At a hearing on March 28, 2007, Defendant Summers-El waived her right to be

represented by counsel, asserted her desire to represent herself, and renewed her Notice of

Abatement. This Court granted Defendant Summers-El’s request to represent herself, but

ordered that Mr. Jeffrey Edison remain as stand-by counsel. At the hearing, the Government

provided a copy of its Response to Defendant Summers-El’s Notice of Abatement to this Court

and Defendant. This Response addressed the merits of Defendant Summers-El’s Notice of

Abatement, whereas the Government’s first Response argued only for denying Defendant’s

Notice of Abatement on procedural grounds.3

II.    PROCEDURAL HISTORY

       On August 23, 2006, Defendant Summers-El was charged in a Second Superseding

Indictment with seven counts of aiding and assisting in the preparation and presentation of false

and fraudulent tax returns, in violation of 26 U.S.C. § 7206(2), and one count of conspiracy to

defraud the United States, in violation of 18 U.S.C. §371.

       On October 25, 2006, Defendant Summers-El was appointed counsel, Judith Gracey, who

subsequently moved to withdraw as Defendant’s attorney, and Mr. Edison was appointed by this

Court. As mentioned above, Mr. Edison is currently appearing as Defendant Summers-El’s



       3
          A new stand-by attorney has been appointed in this matter as Mr. Edison’s state court
trial schedule did not permit him to continue.

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stand-by counsel.



III.   APPLICABLE LAW & ANALYSIS

        A.      Jurisdiction

        Defendant Summers-El argues that this Court lacks jurisdiction over her because she is a

sovereign, indigenous Moor of the Creek Nation, and not a United States citizen, that the Internal

Revenue Service does not have jurisdiction over the forty-eight mainland United States and that

her name on the Indictment is improper.

        Title 18 of the United States Code, Section 3231 “grants the district courts of the United

States original jurisdiction of all offenses against the laws of the United States.” United States v.

Titterington, 374 F. 3d 453, 459 (6th Cir. 2004). The express language of the statute grants

district courts with jurisdiction of all offenses, regardless of the status of the individual alleged to

have committed the crime. The Internal Revenue Code defines offenses against the laws of the

United States. See United States v. McMullen, 755 F. 2d 65, 67 (6th Cir. 1984). Additionally,

any argument that the Internal Revenue Service has no authority to prescribe the tax laws in the

fifty states is without basis. See United States v. Mundt, 29 F. 3d 233, 237 (6th Cir. 1994)(The

court held the argument to be “completely without merit and patently frivolous” where defendant

argued he was not a resident of any federal zone, but only of the State of Michigan).

        Arguments similar to those presently asserted by Defendant Summers-El, that she is not a

citizen of the United States4 and not subject to its laws, have been raised before, and courts that


        4
          Defendant Summers-El’s reliance on the United States Supreme Court’s Dred Scott
decision, Scott v. Sanford, 60 U.S. 393 (1857), to support her assertion that she is not a citizen of
the United States is without merit. This case was overruled by the ratification of the Fourteenth

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have reviewed such arguments have repeatedly rejected them as lacking merit and basis in law.

This Court relies on the persuasive opinions of these other courts and denies Defendant

Summers-El’s argument that she is not subject to the laws of the United States. See United

States v. Hilgeford, 7 F. 3d 1340, 1342 (7th Cir. 1993); See also United States v. Gerads, 999 F.

2d 1255, 1256-57 (8th Cir. 1993); See also United States v. Silevan, 985 F. 2d 962, 970 (8th Cir.

1993); See also United States v. Sloan, 939 F. 2d 499, 500-01 (7th Cir. 1991). Additionally, this

Court notes that the Sixth Circuit has summarily dismissed a habeas corpus petitioner’s

argument that he was “exempt from punishment for his federal crimes because his rights derive

exclusively from the Moorish Science Temple of America.” Kerr v. Hedrick, 89 Fed. Appx.

962, 963 (6th Cir. 2004)(“We have considered [petitioner’s] argument on appeal and find it to be

without merit.” Id. at 964.))

       Further, all citizens of the United States are subject to American laws.5 See Osiris v.

Brown, 2006 WL 208566, *1 (D. N.J. Jan. 24, 2006). In addition, even if Defendant Summers-

El is an indigenous Moor of the Creek Nation, she “has a duty to conform to the laws of the

United States while residing here.” Id. Other courts have asserted jurisdiction over Moors. See



Amendment, which states “all persons born or naturalized in the United States . . . are citizens of
the United States and of the state wherein they reside.” U.S. CONST. amend XIV.
       Additionally, this Court notes that to the extent Defendant Summers-El relies upon the
Uniform Commercial Code to support her argument that she is not a citizen of the United States,
such an argument is likewise without merit or basis in law. Defendant Summers-El asserts in her
Notice of Abatement that she is the holder of the Uniform Commercial code number
2005158838-6. (Def.’s Not. of Abatement, p. 2, ¶ 1) The U.C.C. is inapplicable to criminal
matters. See United States v. Humphrey, 287 F. 3d 422, 435 (6th Cir. 2002); United States v.
Holloway, 11 Fed. Appx. 398, 400 (6th Cir. 2001).
       5
          While Defendant Summers-El asserts that she is not a United States citizen, this is
untrue, as she was born in the United States. (See Gov.’s Resp., Ex. 1, State of Michigan,
Certificate of Live Birth for Tanisha Lynn Summers)

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United States v. James, 328 F. 3d 953, 954 (7th Cir. 2003)(The Seventh Circuit held that the

“[l]aws of the United States apply to all persons within its borders. Even if [the defendant] were

not a citizen of the United States . . , he would be obliged to respect the laws of this nation.”).

See, also U.S. v. Roberson, 2006 WL 3077144, *2 (7th Cir. Oct. 30, 2006); See also United

States v. Darden, 70 F. 3d 1507, 1517 (8th Cir. 1995); See, e.g., U.S. v. Waalee, 133 Fed. Appx.

819 (3d Cir. 2005); United States v. Harris, 332 F. Supp. 2d 692 (D.N.J. 2004).

       Defendant Summers-El’s assertion that she is not the person in the Indictment because

her name is spelled in capital letters and/or does not have the “El” at the end of her name is

without merit. See Wilcox v. Commissioner, 848 F. 2d 1007, 1008 (9th Cir. 1988).

       Lastly, to the extent that Defendant Summers-El relies on the Treaty of Friendship and

Peace to support her argument that the IRS, or this Court has no jurisdiction over her, Defendant

Summers-El has not claimed to be a citizen of Morocco and therefore cannot avail herself of the

Treaty of Friendship and Peace between the United States and Morocco. The Court asked

Defendant at her first appearance before the district judge whether she was asserting her rights

under a treaty with a foreign government and Defendant Summers-El responded that she was

not.

       B.      Indictment

       Defendant Summers-El argues that the Indictment should be dismissed because she was

not apprised of the fact that a grand jury was investigating her, she was not afforded the

opportunity to cross examine witnesses, and she did not have the opportunity to challenge the

makeup of the jury pool.

       In regard to Defendant Summers-El’s assertion that she was not notified of the grand jury


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investigation of her, she has no right to such notification since grand jury sessions are convened

in secret. See Fed. R. Crim. P. 6(e)(2). To the extent that Defendant Summers-El relies upon

Federal Rule of Criminal Procedure 6(b)(1), the Court notes that the last sentence of this Rule

was deleted when the rules were amended in 2002. See Committee Note of 2002 to Amendment

to Rule 6.

       The last sentence of currently Rule 6(b)(1) provides that “Challenges shall be
       made before the administration of the oath to the jurors and shall be tried by the
       court.” That language has been deleted from the amended rule.


Id. Defendant Summers-El is simply incorrect in her assertion that she had the right to

notification of the investigation before administration of the oath. She is likewise incorrect in

her assertions that she was denied her right to interview and cross-examine adverse witnesses

during the grand jury proceedings. The only persons allowed while the grand jury is in session

are: attorneys for the government, the witness being questioned, and court reporters. See Fed. R.

Crim. P. 6(d)(1).

       Defendant has no right under the Fourth Amendment to have access to the affidavits of

complaint, nor rights under the Sixth Amendment to interview witnesses against her or to have

the assistance of counsel, at least in respect to grand jury proceedings. See United States v.

Moody, 206 F. 3d 609, 614 (6th Cir. 2000)(The right to counsel attaches at the critical stages of

criminal proceedings, which occur after initiation of formal charges); See also United States v.

Calandra, 414 U.S. 338, 354 (1974)(The Supreme Court rejects argument that the Fourth

Amendment’s exclusionary rule applies to grand jury proceedings). The Calandra court stated

that “[p]ermitting witnesses to invoke the exclusionary rule would delay and disrupt grand jury

proceedings by requiring adversary hearings on peripheral matters, and would effectively

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transform such proceedings into preliminary trials on the merits.”(internal citations and

quotations omitted); See also Kentucky v. Stincer, 482 U.S. 730, 737 (1987)(The right to cross-

examination is “designed to promote the reliability in the truth-finding functions of a criminal

trial.”)(emphasis added); See also United States v. Wortman, 26 F.R.D. 183 (E.D. Ill. 1960)(“An

appearance before a grand jury is not a trial in a manner in which the term trial is used in this

amendment.”). As such, these rights that Defendant asserts have been violated, are not

applicable to grand jury proceedings, but to Defendant Summers-El’s upcoming criminal trial.6

       Federal Rule of Criminal Procedure 6(e) “codifies the traditional rule of grand jury

secrecy.” United States v. Sells Eng’g, 463 U.S. 418, 425 (1983). Rule 6(2)(B) states that:

       Unless these rules provide otherwise, the following persons must not disclose a
       matter occurring before the grand jury:

       (i)     a grand juror;
       (ii)    an interpreter;
       (iii)   a court reporter;
       (iv)    an operator of a recording device;
       (v)     a person who transcribes recorded testimony;
       (vi)    an attorney for the government; or
       (vii)   a person to whom disclosure is made under Rule (e)(3)(A)(ii) or (iii);


Fed. R. Crim. P. 6(e). There are certain situations where grand jury material may be disclosed to

a criminal defendant. See Fed. R. Crim. P. 16(a)(1)(B)(iii)(criminal defendants are entitled to

transcripts of their own grand jury testimony); See also 18 U.S.C. § 3500(criminal defendants

are entitled to the grand jury transcripts of the testimony of any government witnesses called at



       6
          Defendant Summers-El has already waived her right to be represented by counsel at her
criminal trial. Stand-by counsel is appointed to stand by should Defendant Summers-El reassert
her constitutional right to be represented by court appointed counsel. Stand by counsel is not
appointed to perform research attorney type duties for Defendant.

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the defendant’s trial); See also Fed. R. Crim. P. 6(e)(3)(E)(ii)(a court may authorize the

disclosure of grand jury materials at the defendant’s request, if the defendant demonstrates that a

ground may exist to dismiss the indictment because of a matter that occurred before the grand

jury).

         Additionally, a presumption of regularity attaches to the grand jury’s proceedings and

persons attacking such proceedings have the burden of demonstrating that irregularity occurred.

United States v. Woods, 544 F. 2d 242 (6th Cir. 1976). An indictment valid on its face is not

subject to challenge on the ground that the grand jury acted on the basis of inadequate or

incompetent evidence. United States v. Powell, 823 F. 2d 996, 1000 (6th Cir. 1987)(citing

United States v. Calandra, 414 U.S. 338, 344-45 (1974)). The rule against inquiry into the grand

jury process, and the evidence presented to the grand jury, is to be strictly applied except if there

are allegations of bias by the grand jury or that it was illegally constituted or a showing of long-

standing prosecutorial misconduct. Powell, 823 F.2d 1000-01.

         To the extent that Defendant Summers-El challenges the composition of the grand jury, it

appears she is raising a Sixth Amendment and statutory right violation under the Jury Selection

and Service Act. See 28 U.S.C. 1861 et seq. Defendant Summers-El asserts that the grand jury

pool did not contain any of her peers because no Moors were included in the pool.7



         7
          Qualifications for jury service can be found at 28 U.S.C. § 1865, which states in
pertinent part that any person is deemed qualified to serve on grand juries, unless he or she:

         (1)    is not a citizen of the United States eighteen years old who has resided for
                a period of one year within the judicial district.

28 U.S.C. § 1865(b)(1). The Court notes that it is unlikely a person claiming that he or she is not
a United States citizen would be selected to serve, even if an actual citizen.

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        The Supreme Court has construed the Sixth Amendment’s guarantee that criminal

defendants be tried by an impartial jury to mean that juries be drawn from pools representative of

the community. See Taylor v. Louisiana, 419 U.S. 522, 537 (1975). This requirement is

codified in the JSSA, which states that:

        It is the policy of the United States that all litigants in Federal courts entitled to
        trial by jury shall have the right to grand and petit juries selected at random from
        a fair cross section of the community in the district or division wherein the court
        convenes.

18 U.S.C. § 1861. Additionally, the JSSA states that “no citizen shall be excluded from service

as a grand or petit juror in the district courts of the United States . . . on account of race, color,

religion, sex, national origin, or economic status.” 28 U.S.C. § 1862.

        The same standard applicable to Sixth Amendment challenges is also applicable to those

brought pursuant to the JSSA. See United States v. Ovalle, 136 F. 3d 1092, 1099 (6th Cir. 1998).

Defendant Summers-El may establish her claim by direct or indirect evidence. Id. In order to

demonstrate her assertion via direct evidence, Defendant Summers-El must demonstrate that

Moors were invariably excluded or under represented in the jury pool. Id. Defendant Summers-

El has provided no such evidence, except for her unsupported allegation that no Moors were

included in the jury pool.

        As Defendant Summers-El has provided no direct evidence, she may establish a prima

facie showing of an illegal jury selection process indirectly, by demonstrating: (1) a distinctive

group is being excluded from the jury pool; (2) that the representation of this group in venire

from which juries are selected is not fair and reasonable in comparison to the group’s

representation in the community at large; and (3) that this disparity is attributable to systematic

exclusion of the group in the jury selection process. See United States v. Brown, 128 F. Supp.

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 2d 1034, 1039 (E.D. Mich. 2001)(internal quotations omitted)(citing Duren v. Missouri, 439

 U.S. 357, 364, 99 S. Ct. 664, 668, 58 L. Ed. 2d 579 (1979); United States v. Buchanon, 213 F. 3d

 302, 309-10 (6th Cir. 2000)).

        Assuming for purposes of this motion, that Moors are a distinctive group, Defendant

 Summers-El has not established her burden under the second and third factors to make out a

 prima facie case. Defendant Summers-El merely asserts that Moors were excluded, she does not

 present to this Court any evidence of the statistical representation of Moors within the Eastern

 District of Michigan and within the group in venire from which juries are selected. The Court

 cannot determine whether the jury pool was therefore unfair and unreasonable in light of the

 actual percentage of Moors within the community at large. Defendant Summers-El has also not

 shown that the disparity, if any, is attributable to systematic exclusion of the Moors. Defendant

 Summers-El has not established a prima facie case that the grand jury was selected improperly.

 Further, the Court notes that even if Defendant Summers-El established a violation of the JSSA,

 this would not necessarily guarantee dismissal of the Second Superseding Indictment against her.

 “The JSSA only provides a remedy for substantial failures to comply with its provisions.”

 Ovalle, 136 F. 3d at 1100.

        C.      Request for Default

        Defendant Summers-El has twice requested this Court to enter an Order of Default8

 because the Government has failed to respond to her Notice of Abatement.9 The entry of


        8
         The second request was filed on April 11, 2007. Additionally, on April 12, 2007,
 Defendant Summers-El filed an Amended Second Request for Default.
        9
          The Court notes that the Government has twice responded to Defendant Summers-El’s
 Notice of Abatement.

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 judgments by default is governed by Federal Rule of Civil Procedure 55. As this is a criminal

 matter, the Federal Rules of Civil Procedure are inapplicable. Defendant’s Requests for Entry of

 Default are denied.

        D.      Trial Date

        Both Defendants Summers-El and her Co-Defendant, Camelia Peatross, were scheduled

 to commence trial on April 15, 2007. At the close of oral argument on April 13, 2007, the Court

 conducted a pretrial conference. During this conference, Defendant Summers-El requested a one

 week adjournment. Defendant Summers-El stated that she had spent all of her free time

 preparing paperwork for the jurisdictional argument currently before this Court. She indicated

 that she had spent no time preparing for her defense, and that she was given, merely one week

 earlier, an extensive amount of material from the Government. The Government vehemently

 objected, one of the reasons being that two of its witnesses were presently en route to Detroit,

 Michigan.

        After conferring with the parties, the trial date was adjourned until May 31, 2007, both

 Defendant Summers-El and Defendant Peatross agreed to waive their right to Speedy Trial. The

 Court finds that justice may be served and the interests of due process and judicial economy may

 be advanced by the adjournment. Additionally, the ends of justice serviced by this delay

 outweigh the interests of the public in a speedy trial.

 IV.    CONCLUSION

        IT IS ORDERED that Defendant Summers-El’s Notice of Abatement [Docket No. 74,

 filed February 20, 2007] is DENIED.

        IT IS FURTHER ORDERED that Defendant Summers-El’s Notice of Default [Docket


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 No. 78, filed on March 7, 2007] is DENIED.

        IT IS FURTHER ORDERED that Defendant Summers-El’s Second Notice of Default

 [Docket No. 93, filed April 11, 2007] is DENIED.

        IT IS FURTHER ORDERED that Defendant Summers-El’s Motion to Dismiss [Docket

 No. 94, filed on April 11, 2007] is DENIED.

        IT IS FURTHER ORDERED that Defendant Summers-El’s Amended Second Notice of

 Default [Docket No. 97, filed April 12, 2007] is MOOT.

        IT IS FURTHER ORDERED that the trial of this matter shall commence on May 31,

 2007 at 9:00 a.m.

        IT IS FURTHER ORDERED that no pretrial motions, other than a Motion by Defendant

 Peatross for production of grand jury transcripts, or a Motion for Reconsideration by Defendant

 Summers-El may be filed without first seeking leave of the Court.


                                                     /s/ Denise Page Hood
                                                     DENISE PAGE HOOD
 Dated: April 19, 2007                               United States District Judge




         I hereby certify that a copy of the foregoing document was served upon counsel of record
 and Ms. Tanisha L. Summers-El, 2508 Alter Road, Detroit, MI 48215 on April 19, 2007, by
 electronic and/or ordinary mail.

                                             S/William F. Lewis
                                             Case Manager




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